
PUTNAM, J.
Appeal from an order of the Columbia county judge, dismissing proceedings by habeas corpus, and remanding one Nellie Victory, on whose behalf the writ was obtained, to the custody of Sarah V. Coon, the superintendent of the house of refuge for women, at the city of Hudson. Nellie Victory was on the 19th day of November, 1887, brought before A. R. Bruce, a justice of Johnstown, N. Y., charged with being a common prostitute, and having been duly convicted; and said justice, having determined her age to be 17 years, committed her to the said house of refuge, as a common prostitute, by virtue of the provisions of chapter 187 of the Laws of 1881, as amended by chapter 17 of the Laws of 1887.
I think the county judge reached the correct conclusion on all the questions submitted to him; and his opinion renders it unnecessary to write, except briefly, upon the question as to the constitutionality of the above-mentioned act of the legislature, which was not questioned or considered below.
In considering this question, we should bear in mind the well-settled principle that “every statute is presumed to be constitutional, and every intendment is in favor of its validity. When a statute is challenged as in conflict with the fundamental law, a clear and substantial conflict must be found to exist, to justify its condemnation.” In re New York El. R. Co., 70 N. Y. 342; People v. Albertson, 55 N. Y. 54. Construing the act under consideration as required by above-cited and kindred cases, I am unable to see that its enactments are in violation of either the state or national constitutions.
The relator claims that said statute conflicts with the constitution of the state, because it prevents the governor from exercising the constitutional power of pardon as to persons committed to the house of refuge under its provisions. I think the position is founded on a mistaken construction of the statute, and am unable to discover that it interferes, or attempts to interfere, with the pardoning power of the governor. It neither takes away such prerogative, expressly or impliedly. In the absence of any express provision in the law interfering with the power of pardon conferred on the governor by the constitution, we should not, by a *870forced and strained construction, hold that the statute deprived him of such prerogative.
The relator also claims that the act in question violates the provisions of the fourteenth amendment to the federal constitution, which provides that “no state shall make or enforce any law, nor deny to any persons within its jurisdiction the equal protection of its laws;” that the said statute imposes an imprisonment of five years on a certain class of females for a misdemeanor, while the punishment for all other females, except such class, for the same offense, is imprisonment for one year, or a fine, or both. The house of refuge which the act creates is rather a reformatory than a prison, and all females in the state, of the age stated, are subject to the provisions of the law. Every woman between 15 and 30, guilty of a misdemeanor, is liable to the punishment provided therein. I think it within the power of the legislature to provide a punishment for children and young women at a different place, and for a different period, than the imprisonment provided for persons of a different age for the same offense. It has never been suggested that section 700 of the Penal Code, providing that persons between 16 and 30 years of age, committing a felony, may be sent to the reformatory at Elmira, was. unconstitutional; yet under that section a person 29 years old may be sent to the reformatory, and perhaps be discharged within a year, while a man 30 years of age, convicted of the same crime, must go to state’s prison, and remain for the period of his sentence,—perhaps over 10 -years. Under a former statute a person under 16 years of age, convicted of a misdemeanor, could be sent to the house of refuge in the city of IsTew York. It was not necessary to specify in the commitment the time of their imprisonment, as male prisoners were, under the law, to be detained until their majority, and female until they reached the age of 18 years. See People v. Degnen, 54 Barb. 105; Park v. People, 1 Lans. 263. It was never claimed that this statute was repugnant to the fejderal constitution, although in cases of misdemeanors the ordinary punishment was six months’ imprisonment, while under the statute in question a boy convicted of a misdemeanor was held five years or more. In cases of a felony under said statute, the detention of a person in the house of reffige would often exceed the ordinary period of imprisonment of one of mature years for the same crime in state’s prison. The statute under consideration does not violate the provisions of the federal constitution to which appellant calls our attention, because it applies equally to all females between the ages of 15 and 30, convicted of a misdemeanor. ‘ As all of the age stated are subject to its provisions, it does not have the effect of denying to any person the equal protection of the law; also, because the house of refuge created by the act is a reformatory, not a state prison. The legislature may legally provide for the sending of young persons to such an institution, with a view to their reformation. The power of the legislature to prescribe different places of detention, and different periods of confinement, for criminals of different ages, committing the same crime, has been too long exercised to be now *871questioned. It has been determined that the legislature may prescribe a different punishment for the same crime in different localities of the state. In Re Bayard, 25 Hun, 546, it was held that, although the legislature has established a general maximum punishment throughout the state for crime, it may change or increase the punishment as to particular localities. The law construed in that case provided that a person convicted of a petit larceny in the city of Cohoes should be punished by a fine not exceeding $250, or by imprisonment in the Albany penitentiary for a term not exceeding one year, or both; and said law was held not unconstitutional, although other parts of the state punished petit larceny by a fine not exceeding $100, or by imprisonment not exceeding six months, or both. But the statute applied to all citizens of the state who might be found guilty of petit larceny in Cohoes. See, also, Williams v. People, 24 N. Y. 407. So I think the legislature may prescribe a different punishment for different ages, as well as different places, and for the purpose of reforming, as well as punishing, may provide for the imprisonment of young women in the reformatory for a longer period than that prescribed by statute for older women, committing the same offense, in state prison.
The order should be affirmed, with costs. All concur.
NOTH.
Judge Edwards, in his opinion in Re Maggie E. Curran, rendered at Hudson special term, (not reported,) says: “The question presented and argued by the counsel is whether the committing magistrate had jurisdiction to try and convict the defendant for the alleged offense of ‘being a common prostitute.’ Prior to the adoption of the Code of Criminal Procedure, the Revised Statutes provided for special proceedings of a criminal nature against disorderly persons. It declares that certain persons therein named should ‘be deemed disorderly persons,’ and among these are ‘all common prostitutes.’ Rev. St. pt. 1, c. 20, tit. 5, § 1. This portion of the Revised Statutes was repealed by Laws of 1886, c. 593. The Code of Criminal Procedure provides for ‘proceedings respecting disorderly persons,’ and section 899, which declares who are disorderly persons, omits from the classification the words, ‘all common prostitutes,’ but in ‘Proceedings Respecting Vagrants,’ (section 887,) which declares what persons are vagrants, describes, among other classes, the following: ‘A common prostitute, who has no lawful employment whereby to maintain herself.’ The proceeding against the defendant must have been by virtue of this section. Section 890 requires a peace officer to take a ‘vagrant’ before the magistrate, and section 891 provides that if the magistrate is satisfied from the confession of the person brought before him, or by competent testimony, that he is a vagrant, he must convict him, and must make a certificate stating that the magistrate has adjudged that the person is a vagrant. The record of conviction must show that the person was convicted of being a ‘vagrant.’ Here the defendant was not only not convicted as a ‘vagrant,’ as the statute requires, but she was not even charged, tried, or convicted as a person belonging to any of the classes which the law has defined to be vagrants. She was tried and convicted of ‘being a common prostitute,’ without the qualifying words of the statute, ‘who has no lawful employment whereby to maintain herself.’ Clearly, the magistrate has no authority to try the defendant on the charge of ‘being a common prostitute,’ or to convict her as such. There is no such offense as ‘being a common prostitute.’ These words are but part of the offense. The legislature intended that the qualifying words, ‘who has no lawful employment whereby to maintain herself,’ should have the significance which they import, and the magistrate has no power to disregard them. To be a vagrant, within the sub*872division, one must come within the class of persons therein described. The statute makes the qualifying words an' essential part of the crime. A justice has no more right to disregard them than he has, under the third subdivision or classification of the same section, to convict one of being ‘a person who has contracted an infectious or other disease,’ and disregard the additional and qualifying words of that class. Although the mere statement of the ¡facts would seem sufficient to show the invalidity of the conviction, an authority for the conclusion which I have reached may be found in 19 How. Pr. 457, (In re Forbes.) In that case the words of the commitment were: ‘Whereas, Catherine Forbes stands charged, and is, on competent testimony made before me, lawfully convicted, of being a vagrant, in this, to wit, that she is a common prostitute,’ etc. The question there arose under an act applicable only to the city of New York, by which certain persons are declared to be vagrants, and one of the classes therein defined is, ‘All common prostitutes who have no lawful employment whereby .to maintain themselves. It will be observed that the language of that act, in describing this class of persons, is the same as contained in the section of the Code of Criminal Procedure under which the proceedings here were instituted. Mr. Justice Sutherland, before whom that case was heard, held that the conviction was erroneous, and in his opinion said: ‘It is presumed that the prisoner, Catherine Forbes, was arrested and convicted under this act; but, by this act, common prostitution is neither defined, nor declared to be a crime.’ By tiffs net a certain class or description of common prostitutes are declared to be vagrants. Every word which defines this class, or makes a part of this description's material and important The magistrate, in acting under the act, has no right to drop or disregard one word of this description. To be a va - grant, within the act, the common prostitute must be without any lawful employment whereby to maintain herself.”
